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         Exhibit A
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  NUANCE COMMUNICATIONS, INC.
                 V.
OMILIA NATURAL LANGUAGE SOLUTIONS,
                LTD.
            CLAIM CONSTRUCTION HEARING


                Presentation by Plaintiff Nuance
                         July 10, 2020
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“SECOND LANGUAGE” ‐ CLAIM LANGUAGE IS DISPOSITIVE
 Claims 12, 25: First speech recognizer is of “at least” a first language
   “At least” means other unclaimed elements may be present
   No language to preclude second language from being present
 Claims 12, 25: Domain specific training data “relates to” a second language
   No requirement that it “add” a second language or that it “is” a second
    language
 Claim 27: First domain “comprises” “at least” a first language
   “Comprises” is open‐ended: includes but is not limited to
   “At least” means other unclaimed elements may be present
   No language to preclude second language from being present
 Claim 27: Second domain “comprises” “at least” a second language
   “Comprises” is open‐ended: includes but is not limited to
   “At least” means other unclaimed elements may be present

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      SPECIFICATION, FILE HISTORY, EXTRINSIC EVIDENCE
 Specification
   Omilia confuses “new domain” with “new language”
   Domain defined more broadly: languages, dialects, tasks, etc. (col. 6:5‐8)
 File History
   Omilia misreads 11/3/04 Office Action (Sternberg Dec. Ex. 3) and 2/3/05
    Response. Waibel rejection is not related to this limitation.
   Claims 12, 25 (app. claims 13, 27)  allowable as originally drafted if rewritten
    in independent form
   Claim 27 (new app. claims 29+30)  allowed as drafted and combined
 Extrinsic Evidence
   Livescu Decl. ¶¶ 35‐40 (languages are not completely distinct, and the claimed
    invention leverages this for efficient adaptation)

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                         EVIDENTIARY SUPPORT
 Claim Language
   Claims 12, 25: multi‐lingual speech recognizer must be “of said second language
    and said at least first language”
   Claim 27: domains used to generate multi‐lingual speech recognizer must
    “comprise” “at least” a first language and a second language
 Specification
   Col. 9:4‐23: “If different languages share a common phonetic alphabet, the
    method also can be used for the incremental and data driven incorporation of a
    new language into a true multi‐lingual speech recognizer …”
 Extrinsic Evidence
   See Schultz & Waibel (Livescu Dec. Exh. G)
   POSITA understanding of meaning of “multi‐lingual” and presence of a language

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       PRESENCE OF A LANGUAGE IN A MULTI‐LINGUAL
                   SPEECH RECOGNIZER
 Each language has a number of phonemes
 Ability to recognize the phonemes means the language is supported
 More training data / specialized training data  more accurate recognition
 “Sound units” in Nuance’s proposed construction, as understood by a POSITA,
  includes acoustic contexts (Nuance Resp. Br. at 3‐4)

 Omilia’s misconceptions
   A language is either present or absent
   Language is an all or nothing exercise
   A phonetic context is the same as an entire language

 See examples of multi‐lingual speech recognizers in Livescu Ex. G

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     “GENERATING” – CLAIM LANGUAGE IS DISPOSITIVE

 Claims 1, 2, 14, 15 all require “generating … by re‐estimating …”
   Omilia’s proposed construction would render the “by re‐estimating”
    limitation redundant
 Claim 27 requires “generating” but does not include “by re‐estimating”
   Omilia’s proposed construction would import limitation language into
    claim 27 that is not present




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     SPECIFICATION, FILE HISTORY, EXTRINSIC EVIDENCE

 Specification
   Acknowledges other approaches possible. See Nuance Br. at 15 (cites)
   Nothing in specification is definitional as to “generating”
 File History
   Claim 27 allowed without requiring “by re‐estimating …”
    (Livescu Decl. Exhs. J, I, J)
 Extrinsic Evidence
   Livescu Dec. ¶¶ 50‐53 (how a POSITA would understand claims,
    specification and file history)


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           925 PATENT INCLUDES BOTH METHOD AND
            COMPUTER READABLE MEDIUM CLAIMS
 Claims 14‐15
   “A machine‐readable storage, having stored thereon a computer program
    having a plurality of code sections executable by a machine for causing the
    machine to automatically generate … a second speech recognizer, … said
    machine‐readable storage causing the machine to perform the steps of: …”
    Omilia’s construction would require the software to be programmed to perform
     other, unclaimed, steps as well. This improperly imports limitations into the claims.
 Claims 1‐2
   “A computerized method of automatically generating … a second speech
    recognizer, … said method comprising: …
    To require that “automatically generating” in claims 1‐2 include computer‐
     performance of steps other than those specified would improperly (a) import
     limitations into the claim, and/or (b) apply a different meaning for “automatically
     generating” to different claims.

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